Case 1:19-md-02875-RMB-SAK          Document 2515-1       Filed 10/18/23     Page 1 of 1 PageID:
                                          87681



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


   In re: VALSARTAN, LOSARTAN, AND                No. 1:19-md-02875-RBK-SAK
   IRBESARTAN PRODUCTS LIABILITY
   LITIGATION
                                                  NOTICE OF MOTION TO WITHDRAW
   THIS DOCUMENT RELATES TO ALL                   AS COUNSEL
   CASES
                                                  MOTION DATE: NOVEMBER 20, 2023

         PLEASE TAKE NOTICE that Benesch, Friedlander, Coplan & Aronoff LLP will present

  its Motion to Withdraw as Counsel on November 20, 2023, or at the convenience of the Court.


  Dated: October 18, 2023                           BENESCH, FRIEDLANDER, COPLAN
                                                     & ARONOFF LLP

                                                     /s/ Kevin M. Capuzzi
                                                    Kevin M. Capuzzi (NJ #173442015)
                                                    Continental Plaza II
                                                    411 Hackensack Ave., 3rd Fl.
                                                    Hackensack, NJ 07601-6323
                                                    Telephone: (302) 442-7010
                                                    Facsimile: (302) 442-7012
                                                    Email: kcapuzzi@beneschlaw.com
